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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ANDRE JENNINGS

  Plaintiff,
                                                        CASE NO.
   vs.
                                                        COMPLAINT AND JURY DEMAND
ED NAPLETON ELMHURST IMPORTS
INC.,

 Defendant.



          Plaintiff, Andre Jennings, upon personal knowledge as to himself and upon information

and belief as to other matters, hereby complains as follows:

                                   NATURE OF THE CLAIMS

          1.     Plaintiff brings claims for hostile work environment based on race, disparate

treatment based on race, and retaliation pursuant to 42 U.S.C. §1981 (“Sec. 1981”); Title VII of

the Civil Rights act of 1964, 42 U.S.C. 2000e, et seq. (“Title VII”); and the Illinois Human

Rights Act 775 ILCS 5/1 et seq., (the “IHRA”).

                                  VENUE AND JURISDICTION

          2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 and 28

U.S.C. §1343(a)(4).

          3.     This Court has supplemental jurisdiction over the IHRA claims pursuant to 28

U.S.C. §1367.

          4.     Pursuant to 28 U.S.C. §1391(b), venue is proper in the Northern District of

Illinois because the conduct complained of herein took place within this judicial district.

                              ADMINISTRATIVE EXHAUSTION
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        5.      Plaintiff filed a timely Charge of Discrimination against Defendant with the Equal

Employment Opportunity Commission (“EEOC”) on February 5, 2023, alleging discrimination

on the basis of his race and color.

        6.      Plaintiff’s Charge of Discrimination was dual filed with the Illinois Department of

Human Rights. (Ex. 1).

        7.      The EEOC issued Plaintiff a Notice of Right to Sue letter on June 27, 2023. (Ex.

2).

        8.      Plaintiff exhausted his administrative remedies pursuant to Title VII.

        9.      Plaintiff is in the process of obtaining a right to sue notice from the Illinois

Department of Human Rights.

                                              PARTIES

Plaintiff

        10.     Plaintiff is African American.

        11.     At all relevant times, from April 23, 2019 through November 14, 2022, Plaintiff

was a Salesperson at Defendant’s dealership, Napleton’s Kia of Elmhurst.

        12.     At all relevant times, Plaintiff was an employee of Defendant within the meaning

of Title VII.

        13.     As an employee of Defendant, Plaintiff had a contractual relationship with

Defendant within the meaning of §1981.

Defendant

        14.     Defendant is an automotive dealership, selling new Kias and used cars.




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       15.     Defendant does business as Napleton’s Kia of Elmhurst, located at 727 W. Grand

Avenue, Elmhurst, IL 60126.

       16.     At all relevant times, Defendant was Plaintiff’s employer within the meaning of

Title VII.

       17.     As Plaintiff’s employer, Defendant had a contractual relationship with Plaintiff

within the meaning of §1981.

       18.     During Plaintiff’s employment, Defendant’s Platform Manager was Hitko Kadric

(“Hitko”).

       19.     Hitko was the highest-ranking employee at Defendant.

       20.     During Plaintiff’s employment, Defendant’s General Manager was Miki Kadric

(“Miki”).

       21.     Miki was the second highest ranking employee at Defendant.

       22.     Miki and Hitko are brothers.

       23.     Plaintiff reported directly to both Hitko and Miki.

       24.     Defendant gave both Hitko and Miki authority to make official employment

decisions to significantly alter Plaintiff’s employment status, including, inter alia, authority to

make hiring, compensation, disciplinary, and termination decisions.

       25.     Hitko and Miki regularly conferred about employment decisions that significantly

altered Plaintiff’s employment status.

       26.     At times, Hitko would adopt or enforce Miki’s recommendations concerning

employment decisions that significantly affected Plaintiff’s employment status.

                                  FACTUAL ALLEGATIONS


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       27.     Throughout Plaintiff’s employment, a clear racial divide between African

American and white employees existed at Defendant.

       28.     Of the sixty to seventy-five employees who worked at Defendant, only a small

percentage were African American.

       29.     During the relevant time period only approximately two or three African

Americans worked at Defendant at any given time.

       30.     Defendant’s workforce was overwhelmingly white.

       31.     When Defendant did hire African Americans, they often resigned shortly after

being hired.

       32.     Those who stayed were subjected to an ongoing, racially hostile culture where

frequent racial slurs, comments, stereotypes, and jokes saturated the workplace.

       33.     By way of example and not limitation, almost immediately after Plaintiff started

working at Defendant, and continuing through to his termination, Miki and other white

employees used racial slurs to refer directly to Plaintiff or in his or other African American

employees’ presence.

       34.     Miki casually and openly used the N word towards Plaintiff on numerous

occasions.

       35.     For instance, if Plaintiff made a sale, Miki would often say: “take this deal back to

finance, my nigg*r.”

       36.     Miki regular referred to Plaintiff and other African American’s as “my nigg*r.”

       37.     Plaintiff heard Miki or other white employees use the N word at least two or three

times per week throughout his employment at Defendant.



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       38.     One of Plaintiff’s African American coworkers (“Coworker 1”), who worked at

Defendant during the relevant time period, also heard Miki and other white salespeople and

managers use the N word on a near-daily basis.

       39.     On one occasion, shortly after Plaintiff filed his EEOC Charge, Miki called

Coworker 1 to his office and said something to effect of: “Did I ever call [Plaintiff] a nigg*r?”

       40.     Coworker 1 also heard Hitko use the N word.

       41.     Another African American former employee of Defendant (“Coworker 2”), who

worked at Defendant during the relevant time period, heard Miki use the N word regularly,

casually, and openly.

       42.     Coworker 2 heard Miki use the N word towards Plaintiff.

       43.     Plaintiff was personally aware that other African American employees were

subjected to the same racial slurs to which he was subjected because he either overheard the slurs

or they told Plaintiff about their experiences with racial harassment.

       44.     In addition to the N word, Miki often used other highly offensive racial slurs and

stereotypes to refer to African Americans.

       45.     For example, Miki referred to African Americans as “shines” on numerous

occasions when speaking with Plaintiff.

       46.     Miki and other white employees would make frequent “jokes” drawing on

offensive stereotypes, such as saying that African Americans loved to eat fried chicken, along

with similar offensive racist tropes.

       47.     Miki and other white employees openly used racial slurs, including the N word in

the sales tower and in the smoking area, among other common areas at Defendant.



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       48.     The sales tower is where all sales are finalized and sales managers, finance

managers, and other supervisors were regularly present and would have heard the racial slurs.

       49.     Several supervisors also frequented the smoke area where Miki and others openly

used the N word and other offensive racial language and would have heard the racial slurs.

       50.     Coworker 1 heard Miki use the N word in the presence of supervisors and

managers on numerous occasions.

       51.     Despite that supervisors and managers heard Miki use the N word and other racial

slurs, Defendant took no remedial action.

       52.     In addition to, and often in conjunction with the use of the racial slurs, Miki

would frequently belittle Plaintiff and other African Americans by yelling at them or calling

them names, such as “stupid.”

       53.     Plaintiff and other African American employees heard Miki regularly refer

derogatorily to African American customers as “the blacks” and claimed they were not “as

educated as white people.”

       54.     Whenever an African American customer was dissatisfied with a deal or if Miki

made a customer upset about something, he would come get Plaintiff and say: “go calm your

brother down,” “go calm your people down,” or “you know how to handle your own kind,”

among other similar statements.

       55.     In addition to the frequent racial slurs, Plaintiff and other African American

employees were subjected to excessive scrutiny, monitoring, and discriminatory treatment

concerning the terms and conditions of their employment.

       56.     By way of example and not limitation, Miki constantly badgered Plaintiff about

his whereabouts, where he parked, and what time he arrived or left for work.


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       57.       Miki often threatened Plaintiff with suspension or termination over the alleged

“infractions.”

       58.       At times, Miki would threaten Plaintiff by saying: “I will have Hitko fire you.”

       59.       White employees’ whereabouts or attendance were not similarly scrutinized.

       60.       Plaintiff was routinely disciplined for “attendance” issues while white employees

were not similarly disciplined if they were late or left early.

       61.       By way of further example and not limitation, in or around November 2021,

Plaintiff was suspended from work for parking in the wrong parking space.

       62.       White employees were not disciplined when they parked where Plaintiff did.

       63.       About two weeks after Plaintiff’s suspension, news broke that Defendant had

agreed to pay nearly $10 million to settle a case brought by the Federal Trade Commission and

the State of Illinois, which alleged, in part, that Defendant discriminated against Black

customers.

       64.       Almost immediately after the news of the settlement, Defendant called Plaintiff

back to work.

       65.       Plaintiff felt as if he was only called back to work as a charade for Defendant to

show the public it had African American employees.

       66.       In contrast to Defendant’s treatment of Plaintiff, white workers would go

unpunished for committing far worse infractions than parking in the wrong space.

       67.       By way of example and not limitation, around the time that Plaintiff was

suspended for parking in the wrong space, a white employee was caught smoking marijuana in a

vehicle Defendant was selling.



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       68.     Upon information and belief, Defendant did not discipline the employee.

       69.     Plaintiff and other African American employees were also paid less than similarly

situated white employees.

       70.     Plaintiff and other African American employees received less commissions than

white employees.

       71.     Defendant would wrongfully withhold commission percentages owed to Plaintiff

and other African American salespeople under their payment plan.

       72.     Defendant did not similarly withhold commissions from white salespeople.

       73.     Plaintiff asked several white salespeople whether they were receiving the

commissions they were owed under the payment plant.

       74.     Not one white employee with whom Plaintiff spoke reported their commissions

did not add up or that they otherwise believed they were being underpaid.

       75.     Miki’s racial harassment of Plaintiff, including his frequent use of the N word,

“shine,” racial stereotypes, and offensive racial comments, as well as his racially motivated

scrutiny and monitoring culminated in tangible employment actions, which Miki either made

himself or which other Defendant decision makers enforced on Miki’s behalf, including but not

limited to: discipline for unwarranted attendance “infractions,” a two-week unpaid suspension

that Plaintiff received for parking in the wrong space, denying Plaintiff commissions that he

earned in accordance with the payment plan, and ultimately, termination of Plaintiff’s

employment.

       76.     On November 14, 2022, Plaintiff questioned why an employee was sitting within

earshot of his customer who was providing sensitive information to Plaintiff related to the

customer’s purchase of a vehicle.


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       77.     It is against company policy for employees who are not involved in a sale to

eavesdrop on or otherwise be present while a salesperson works with a customer. This policy is

designed to protect customers who are sharing sensitive information during the course of a sale.

       78.     Plaintiff noticed that the policy was not being enforced while he was working

with customers.

       79.     When Plaintiff questioned why the employee was present, Miki jumped up,

slammed his desk, and yelled: “Why the hell do you care if someone is sitting next to you!?”

       80.     Plaintiff was humiliated by Miki’s demeaning and aggressive response to a

reasonable question concerning company policy.

       81.     Miki never openly berated white employees like he did to Plaintiff.

       82.     Plaintiff was exhausted from years of Miki’s harassment and reached his wits end

when Miki publicly humiliated him by yelling at him in front of everyone, including Plaintiff’s

customer.

       83.     In frustration, Plaintiff responded in kind.

       84.     Miki and Hitko then conferred.

       85.     Hitko then communicated to Plaintiff that Defendant was firing him.

       86.     Plaintiff said, “okay,” and walked out.

       87.     Upon information and belief, Miki was not disciplined for publicly yelling at and

using profanity towards Plaintiff.

       88.     Plaintiff complained on numerous occasions that Defendant was withholding his

commissions, including reporting the issue to Miki, Hitko, and Defendant’s human resources

department.


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       89.     In or around August 2022, Plaintiff told Amanda “Last Name Unknown” in

human resources that he believed Defendant was wrongfully withholding his commissions.

       90.     Plaintiff specifically told her that the other salespeople were not having issues

with commissions like he was.

       91.     He went through his sales, one-by-one, with Amanda.

       92.     About halfway through the list, Amanda stopped Plaintiff and said: “You know

they can pay you whatever they want” and that Plaintiff was not owed commissions.

       93.     Amanda’s response was false.

       94.     Plaintiff’s compensation was made up almost entirely of commissions.

       95.     When Plaintiff complained to Defendant, including to Miki, Hitko, and Amanda,

about his concerns of unfair compensation practices, he provided enough information that any

reasonable employer intent on complying with antidiscrimination laws would have understood

he was making a complaint of discrimination.

       96.     Defendant never investigated Plaintiff’s complaint.

       97.     A reasonable investigation into Plaintiff’s complaint would have revealed that

Defendant was discriminating against its African American salespeople.

       98.     As a consequence of Plaintiff’s protected activity, Defendant subjected him to

materially adverse actions designed to punish him for reporting discrimination and to chill

further opposition.

       99.     By way of example and not limitation, shortly after Plaintiff’s complaints of

discrimination, Defendant subjected him to discipline for alleged attendance infractions.




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          100.   Defendant also suspended Plaintiff for two weeks for alleged parking violations,

which prior to Plaintiff complaining of discriminatory commissions, he had never previously

been disciplined despite that he parked in the same spot.

          101.   White employees who did not report discrimination and who engaged in similar

or more severe violations were not subjected to discipline or suspensions.

          102.   Defendant’s ultimate termination of Plaintiff’s employment was in retaliation for

his reports of discriminatory pay practices.

          103.   Plaintiff suffered from emotional distress and lost wages, which were proximately

caused by Defendants’ illegal harassment and retaliation.




                                       CAUSE OF ACTION

                                               COUNT 1

                                     Hostile Work Environment
                                   in violation of 42 U.S.C. §1981

          104.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          105.   The foregoing conduct violates 42 U.S.C. §1981.

          106.   Defendant engaged in illegal, intentional discrimination by subjecting Plaintiff to

a hostile work environment based on his race, African American.

          107.   Defendant subjected Plaintiff to severe or pervasive racial harassment.

          108.   Defendant was aware of the harassment that Plaintiff experienced.




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          109.   Despite Defendant’s knowledge of the harassment perpetrated against Plaintiff, it

failed to take adequate remedial measures.

          110.   As a consequence of Defendant’s failure to take adequate remedial measures, the

harassment against Plaintiff and other African American employees continued and intensified.

          111.   Plaintiff’s supervisors—to whom Defendant gave authority to make official

employment decisions to significantly alter Plaintiff’s employment status—participated in and

condoned the racial harassment against Plaintiff.

          112.   Plaintiff’s supervisors’ harassment culminated in tangible employment actions,

including without limitation, discipline, denied commissions, suspension, and termination.

          113.   As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe

emotional distress and lost wages.

          114.   Defendant’s actions proximately caused Plaintiff’s injuries.

          115.   Plaintiff requests relief as provided in the Prayer for Relief below.

                                              COUNT 2

                                        Disparate Treatment
                                   in violation of 42 U.S.C. §1981

          116.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          117.   The foregoing conduct violates 42 U.S.C. §1981.

          118.   Defendant engaged in intentional discrimination by, inter alia, treating Plaintiff

differently and worse than similarly situated white employees with respect to compensation,

discipline, and termination decisions.




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          119.   As a consequence of Defendant’s actions, Plaintiff suffered emotional distress and

economic injury.

          120.   Defendant’s actions proximately caused Plaintiffs' injuries.

                                              COUNT 3

                                              Retaliation
                                   In violation of 42 U.S.C. §1981
          121.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          122.   The foregoing conduct violates 42 U.S.C. §1981.

          123.   Defendants engaged in illegal, intentional discrimination by retaliating against

Plaintiff after he engaged in protected activity.

          124.   Plaintiff had a reasonable, good faith belief that Defendant engaged in unlawful

discrimination against him.

          125.   Because of Plaintiff’s reasonable, good faith belief that Defendant subjected him

to unlawful discrimination, Plaintiff reported the conduct to members of Defendant’s

management team and human resources.

          126.   Following Plaintiff’s complaints, Defendant subjected Plaintiff to materially

adverse employment actions designed to punish him for his complaints and dissuade Plaintiff

and other employees from reporting discrimination in the future.
          127.   But for Plaintiff’s complaints, Defendant would not have subjected Plaintiff to the

following materially adverse employment actions, including without limitation:

                 a.     Attendance discipline;

                 b.     Denying Plaintiff Commissions;

                 c.     Suspension;

                 d.     Termination.

          128.   As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe
emotional distress and lost wages.


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          129.   Defendant’s actions proximately caused Plaintiff’s injuries.

          130.   Plaintiff requests relief as provided in the Prayer for Relief below.


                                              COUNT 4

                                     Hostile Work Environment
                                      in violation of Title VII

          131.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          132.   The foregoing conduct violates Title VII

          133.   Defendant engaged in illegal, intentional discrimination by subjecting Plaintiff to

a hostile work environment based on his race, African American.

          134.   Defendant subjected Plaintiff to severe or pervasive racial harassment.

          135.   Defendant was aware of the harassment that Plaintiff experienced.

          136.   Despite Defendant’s knowledge of the harassment perpetrated against Plaintiff, it

failed to take adequate remedial measures.

          137.   As a consequence of Defendant’s failure to take adequate remedial measures, the

harassment against Plaintiff and other African American employees continued and intensified.

          138.   Plaintiff’s supervisors—to whom Defendant gave authority to make official

employment decisions to significantly alter Plaintiff’s employment status—participated in and

condoned the racial harassment against Plaintiff.

          139.   Plaintiff’s supervisors’ harassment culminated in tangible employment actions,

including without limitation, discipline, denied commissions, suspension, and termination.




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          140.   As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe

emotional distress and lost wages.

          141.   Defendant’s actions proximately caused Plaintiff’s injuries.

          142.   Plaintiff requests relief as provided in the Prayer for Relief below.

                                              COUNT 5

                                        Disparate Treatment
                                       in violation of Title VII

          143.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          144.   The foregoing conduct violates Title VII.

          145.   Defendant engaged in intentional discrimination by, inter alia, treating Plaintiff

differently and worse than similarly situated white employees with respect to compensation,

discipline, and termination decisions.

          146.   As a consequence of Defendant’s actions, Plaintiff suffered emotional distress and

economic injury.

          147.   Defendant’s actions proximately caused Plaintiffs' injuries.

                                              COUNT 6

                                              Retaliation
                                       in violation of Title VII
          148.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          149.   The foregoing conduct violates Title VII.

          150.   Defendants engaged in illegal, intentional discrimination by retaliating against

Plaintiff after he engaged in protected activity.



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          151.   Plaintiff had a reasonable, good faith belief that Defendant engaged in unlawful

discrimination against him.

          152.   Because of Plaintiff’s reasonable, good faith belief that Defendant subjected him

to unlawful discrimination, Plaintiff reported the conduct to members of Defendant’s

management team and human resources.

          153.   Following Plaintiff’s complaints, Defendant subjected Plaintiff to materially

adverse employment actions designed to punish him for his complaints and dissuade Plaintiff

and other employees from reporting discrimination in the future.

          154.   But for Plaintiff’s complaints, Defendant would not have subjected Plaintiff to the

following materially adverse employment actions, including without limitation:

                 a.     Attendance discipline;

                 b.     Denying Plaintiff Commissions;

                 c.     Suspension;

                 d.     Termination.

          155.   As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe

emotional distress and lost wages.

          156.   Defendant’s actions proximately caused Plaintiff’s injuries.

          157.   Plaintiff requests relief as provided in the Prayer for Relief below.


                                              COUNT 7

                                     Hostile Work Environment
                           in violation of the Illinois Human Rights Act

          158.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          159.   The foregoing conduct violates the IHRA.




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          160.   Defendant engaged in illegal, intentional discrimination by subjecting Plaintiff to

a hostile work environment based on his race, African American.

          161.   Defendant subjected Plaintiff to severe or pervasive racial harassment.

          162.   Defendant was aware of the harassment that Plaintiff experienced.

          163.   Despite Defendant’s knowledge of the harassment perpetrated against Plaintiff, it

failed to take adequate remedial measures.

          164.   As a consequence of Defendant’s failure to take adequate remedial measures, the

harassment against Plaintiff and other African American employees continued and intensified.

          165.   Plaintiff’s supervisors—to whom Defendant gave authority to make official

employment decisions to significantly alter Plaintiff’s employment status—participated in and

condoned the racial harassment against Plaintiff.

          166.   Plaintiff’s supervisors’ harassment culminated in tangible employment actions,

including without limitation, discipline, denied commissions, suspension, and termination.

          167.   As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe

emotional distress and lost wages.

          168.   Defendant’s actions proximately caused Plaintiff’s injuries.

          169.   Plaintiff requests relief as provided in the Prayer for Relief below.

                                              COUNT 8

                                        Disparate Treatment
                           in violation of the Illinois Human Rights Act

          170.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          171.   The foregoing conduct violates the IHRA.

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          172.   Defendant engaged in intentional discrimination by, inter alia, treating Plaintiff

differently and worse than similarly situated white employees with respect to compensation,

discipline, and termination decisions.

          173.   As a consequence of Defendant’s actions, Plaintiff suffered emotional distress and

economic injury.

                                              COUNT 9

                                             Retaliation
                           in violation of the Illinois Human Rights Act
          174.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          175.   The foregoing conduct violates the IHRA.

          176.   Defendants engaged in illegal, intentional discrimination by retaliating against

Plaintiff after he engaged in protected activity.

          177.   Plaintiff had a reasonable, good faith belief that Defendant engaged in unlawful

discrimination against him.

          178.   Because of Plaintiff’s reasonable, good faith belief that Defendant subjected him

to unlawful discrimination, Plaintiff reported the conduct to members of Defendant’s

management team and human resources.

          179.   Following Plaintiff’s complaints, Defendant subjected Plaintiff to materially
adverse employment actions designed to punish him for his complaints and dissuade Plaintiff

and other employees from reporting discrimination in the future.

          180.   But for Plaintiff’s complaints, Defendant would not have subjected Plaintiff to the

following materially adverse employment actions, including without limitation:

                 a.     Attendance discipline;

                 b.     Denying Plaintiff Commissions;

                 c.     Suspension;



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               d.      Termination.

       181.    As a consequence of Defendant’s unlawful conduct, Plaintiff suffered severe

emotional distress and lost wages.

       182.    Defendant’s actions proximately caused Plaintiff’s injuries.

       183.    Plaintiff requests relief as provided in the Prayer for Relief below.



                                          JURY DEMAND

       184.    Plaintiff demands trial of his claims by jury to the extent authorized by law.



                                      PRAYER FOR RELIEF

       185.    WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant in his favor and prays for relief as follows:

               a.      An order granting Plaintiff nominal and compensatory damages in an

                       amount to be determined at trial;

               b.      An order granting Plaintiff backpay and front pay in an amount to be

                       determined at trial;

               c.      An order granting Plaintiff punitive damages;

               d.      An order awarding Plaintiff pre-judgment and post-judgment interest;
               e.      An order awarding Plaintiff costs and expenses, including reasonable

                       attorneys’ fees;

               f.      An order declaring that Defendant violated 42 U.S.C. § 1981, Title VII,

                       and the IHRA;

               g.      Issue an injunction compelling Defendant to cease and desist racially

                       harassing employees and retaliating against employees who report

                       discrimination;



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        h.     Award any other and further relief as this Court deems just and equitable.

        Dated: September 25, 2023

                                                    Respectfully Submitted,

                                                By: _s/Chiquita Hall-Jackson
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                                                   Hall-Jackson & Associates
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                                                   Attorney for Plaintiff




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